824 F.2d 816
    GENERAL MOTORS CORPORATION;  American National Red Cross;Jasper Ballance;  et al., Plaintiffs-Appellees,v.CALIFORNIA STATE BOARD OF EQUALIZATION;  William M. Bennet;Conway H. Collis;  Ernest J. Dronenburg, Jr.;Richard Nevins;  Gray Davis*;  and BruceBunner,Defendants-Appellants.
    No. 85-5618.
    United States Court of Appeals,Ninth Circuit.
    Aug. 14, 1987.
    
      William J. Kilberg, Washington, D.C., for plaintiffs-appellees.
      Patti S. Kitching, Los Angeles, Cal., for defendants-appellants.
      Benjamin W. Boley, James R. Bieke, William R. Hanlon, Washington, D.C., for amicus curiae.
      Appeal from the United States District Court for the Central District of California;  David W. Williams, Senior District Judge.
      Prior Report:  815 F.2d 1305.
      Before KENNEDY, SKOPIL, and ALARCON, Circuit Judges.
    
    ORDER
    
      1
      The decision of the Supreme Court in Pilot Life Ins. Co. v. Dedeaux, --- U.S. ----, 107 S.Ct. 1549, 95 L.Ed.2d 39 (1987), does not alter the opinion's analysis.    Pilot Life involves a state law of general application, one that directly conflicts with a substantive provision of ERISA.  This case, in contrast, involves a state law directed specifically at the insurance industry, one that does not conflict with any of ERISA's substantive provisions.  Accordingly, the analysis of Metropolitan Life Ins. Co. v. Massachusetts, 471 U.S. 724, 105 S.Ct. 2380, 85 L.Ed.2d 728 (1985), remains fully applicable.
    
    
      2
      The full court has been advised of the suggestion for en banc hearing, and no judge of the court has requested a vote on the suggestion for rehearing en banc.  Fed.R.App.P. 35(b).
    
    
      3
      The petition for rehearing is denied, and the suggestion for a rehearing en banc is rejected.
    
    
      
        *
         Substituted for Kenneth Cory, pursuant to Fed.R.App.P. 43(c)(1)
      
    
    